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                          6                            UNITED STATES DISTRICT COURT
                          7                                  EASTERN DISTRICT OF CALIFORNIA
                          8
                              WILLIAM D. MELLO,                                )   1:11-CV-00059 OWW GSA HC
                          9                                                    )
                                                     Petitioner,               )
                         10                                                    )   FINDINGS AND RECOMMENDATION
                                     v.                                        )   REGARDING PETITION FOR WRIT OF
                         11                                                    )   HABEAS CORPUS
                                                                               )
                         12   L. HARTON,                                       )
                                                                               )
                         13                          Respondent.               )
                                                                           )
                         14
                         15          On January 12, 2011, Petitioner filed a petition for writ of habeas corpus in this Court.
                         16                                                DISCUSSION
                         17          Rule 4 of the Rules Governing § 2254 Cases requires the Court to make a preliminary review
                         18   of each petition for writ of habeas corpus. The Court must dismiss a petition "[i]f it plainly appears
                         19   from the petition . . . that the petitioner is not entitled to relief." Rule 4 of the Rules Governing
                         20   2254 Cases; see also Hendricks v. Vasquez, 908 F.2d 490 (9th Cir.1990). A federal court may only
                         21   grant a petition for writ of habeas corpus if the petitioner can show that "he is in custody in violation
                         22   of the Constitution . . . ." 28 U.S.C. § 2254(a). A habeas corpus petition is the correct method for a
                         23   prisoner to challenge the “legality or duration” of his confinement. Badea v. Cox, 931 F.2d 573, 574
                         24   (9th Cir. 1991), quoting, Preiser v. Rodriguez, 411 U.S. 475, 485 (1973); Advisory Committee Notes
                         25   to Rule 1 of the Rules Governing Section 2254 Cases. In contrast, a civil rights action pursuant to
                         26   42 U.S.C. § 1983 is the proper method for a prisoner to challenge the conditions of that confinement.
                         27   McCarthy v. Bronson, 500 U.S. 136, 141-42 (1991); Preiser, 411 U.S. at 499; Badea, 931 F.2d at
                         28   574; Advisory Committee Notes to Rule 1 of the Rules Governing Section 2254 Cases.

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                          1          In this case, Petitioner makes various claims, but none of them concerns the fact or duration
                          2   of his confinement. Petitioner complains that prison officials are not complying with the rules and
                          3   statutes governing the administrative process; he complains that prison officials have lost or
                          4   destroyed his property, and he seeks recompense; he asserts that prison officials are wrongfully using
                          5   his copyrighted trade-name without consideration; and, he claims he has been subjected to medical
                          6   malpractice and deliberate indifference. All of his claims challenge the conditions of his
                          7   confinement. Thus, Petitioner is not entitled to habeas corpus relief, and this petition must be
                          8   dismissed. Should Petitioner wish to pursue his claims, Petitioner must do so by way of a civil rights
                          9   complaint pursuant to 42 U.S.C. § 1983.
                         10                                          RECOMMENDATION
                         11          Accordingly, the Court RECOMMENDS that the petition for writ of habeas corpus be
                         12   DISMISSED because the petition does not allege grounds that would entitle Petitioner to habeas
                         13   corpus relief. The Court further RECOMMENDS that the Clerk of Court be DIRECTED to send
                         14   Petitioner the standard form for claims pursuant to 42 U.S.C. § 1983.
                         15          This Findings and Recommendation is submitted to the Honorable Oliver W. Wanger, United
                         16   States District Court Judge, pursuant to the provisions of 28 U.S.C. § 636 (b)(1)(B) and Rule 304 of
                         17   the Local Rules of Practice for the United States District Court, Eastern District of California.
                         18   Within thirty (30) days after service of the Findings and Recommendation, any party may file written
                         19   objections with the court and serve a copy on all parties. Such a document should be captioned
                         20   “Objections to Magistrate Judge’s Findings and Recommendation.” Replies to the objections shall
                         21   be served and filed within fourteen (14) days after service of the objections. The Court will then
                         22   review the Magistrate Judge’s ruling pursuant to 28 U.S.C. § 636 (b)(1)(C). The parties are advised
                         23   that failure to file objections within the specified time may waive the right to appeal the District
                         24   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).
                         25
                         26           IT IS SO ORDERED.
                         27         Dated:     February 25, 2011                         /s/ Gary S. Austin
                              6i0kij                                              UNITED STATES MAGISTRATE JUDGE
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